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                         IN THE UNITED STATES DISTRICT COURT


                             FOR THE DISTRICT OF COLORADO



Civil Action No. 1:24-cv-1508

COLTON JOHN HARRIS,​

​       Plaintiff,

v.

TAKE-TWO INTERACTIVE SOFTWARE, INC.,​

a Delaware corporation,​

​       Defendant.​



                                                                                                              ​

PLAINTIFF’S OBJECTION TO RECOMMENDATIONS (DKT. 216 AND DKT. 217) : MOTION

TO DISMISS IS MOOT IN LIGHT OF RULE 56 SUMMARY JUDGMENT​

                                                                                                          ​



While a magistrate judge may issue recommendations under 28 U.S.C. § 636(b)(1)(B), Plaintiff

objects to the Magistrate Judge’s Recommendations to the extent it addresses Defendant’s Motion to

Dismiss (Dkt. 76) without first deferring consideration of Plaintiff’s fully-briefed Motion for Summary

Judgment (Dkt. 199) to an assigned Article III judge, who retains exclusive authority to rule on

dispositive matters. ​

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As summary judgment may dispose of all claims, it must be resolved by an Article III judge before

adopting any recommendation on dismissal. Plaintiff has not consented to dispositive authority under 28

U.S.C. § 636(c), and only an Article III judge may enter final judgment.​

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FACTUAL BACKGROUND​

On May 1, 2025, Plaintiff filed a Motion for Summary Judgment under Rule 56 (Dkt. 199), asserting

that there was no genuine dispute of material fact and that Defendant had failed to present any admissible

evidence to support its position. On May 22, 2025, Defendant submitted a Consolidated Response (Dkt.

213), but did not include any affidavit, declaration, or authenticated evidence in opposition to Plaintiff’s

motion. The following day, on May 23, 2025, Plaintiff filed a Reply in Support of Summary Judgment

(Dkt. 214), emphasizing Defendant’s failure to comply with Rule 56(c) and requesting the Court deem all

facts admitted under Rule 56(e).​

At this stage, Plaintiff’s Motion for Summary Judgment (Dkt. 199) is fully briefed. Defendant’s failure to

submit any admissible evidence, affidavit, or Rule 56(d) declaration in response constitutes a waiver of

opposition under Rule 56(c) and (e). As a result, the motion is now ripe for decision, and the Court may

deem the material facts undisputed and enter judgment accordingly.


Defendant’s vague reference to violating Brimmer’s rules does not constitute a proper Rule 56(c)(2)

objection. No specific rule, filing standard, or factual dispute was identified, and no evidentiary objection

was raised. To the extent Defendant intended to object, the argument is waived.


Defendant failed to object to the admissibility of Plaintiff’s evidence under Rule 56(c)(2), failed to

identify any genuine dispute of material fact, failed to request time for discovery under Rule 56(d), and

failed to challenge the damages or legal basis set forth in Plaintiff’s motion. Each of these omissions

constitutes waiver under Rule 56(e)(2), and supports entry of judgment as a matter of law.​

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I. MOTION TO DISMISS IS MOOT UNDER RULE 56​
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The Motion to Dismiss (Dkt. 76) is procedurally and functionally moot. Plaintiff filed a timely Rule 56

Motion for Summary Judgment (Dkt. 199), which is fully briefed and outcome-determinative.

Defendant’s Response (Dkt. 213) failed to comply with Rule 56(c) by:


    ●​ Submitting no admissible evidence;

    ●​ No affidavit or declaration under Rule 56(d);

    ●​ No objection under Rule 56(c)(2);

    ●​ And no factual rebuttal to Plaintiff’s Statement of Undisputed Facts.​




Thus, under Rule 56(e), the Court may (and should) deem Plaintiff’s facts admitted and grant

judgment as a matter of law.​

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II. DAMAGES ARE ALSO UNDISPUTED


Defendant did not dispute or respond to Plaintiff’s specific monetary claims:


    ●​ $1.25 million in compensatory damages;

    ●​ $30–$50 million in unjust enrichment.​




Plaintiff’s requested damages were stated with specificity in the Motion for Summary Judgment itself

(Dkt. 199), and were not contested by Defendant in its Response (Dkt. 213). The law does not require

documentary proof if the opposing party does not dispute the figures. Plus, Defendant did not raise

any such objection in their Response — again, waived. As such, these elements are now undisputed

under Rule 56(e)(2), and judgment is warranted.​
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III. COURT SHOULD NOT IGNORE RULE 56 TO PREFER RULE 12(B)(6)


Proceeding with recommendations on the motion to dismiss while ignoring a ripe, unopposed summary

judgment motion violates the structure of the Federal Rules. Rule 56 takes precedence when a party has

evidentiary support and the opposing party fails to dispute facts. To the extent the Recommendations fail

to account for the pending Rule 56 motion or suggest dismissal is appropriate despite the waiver of

opposition, Plaintiff objects. Plaintiff expressly preserves all rights to raise further objections or appellate

challenges to the Court’s findings, conclusions, or procedural treatment at a later stage or on appeal.​

                                                                                                                   ​

REQUEST FOR RELIEF


Plaintiff respectfully requests that the Court:​

1. Reject the Magistrate’s Recommendations as premature and procedurally improper;​

2. Deem all facts in Plaintiff’s Motion for Summary Judgment admitted under Rule 56(e);​

3. Grant Plaintiff’s Summary Judgment (Dkt. 199) in full;​

4. Enter judgment in Plaintiff’s favor in the requested amounts.​

                                                                                                                   ​

APPLICATION OF RULE 56(e) TO DEFENDANT'S NON-RESPONSE​

Under Rule 56(e)(2)–(3), where a party fails to rebut a factual assertion with admissible evidence, the

Court may consider the fact undisputed and grant judgment accordingly.


Here, Defendant failed to submit any signed agreement, declaration, affidavit, or admissible evidence to

dispute Plaintiff’s central factual assertions. Accordingly, Plaintiff respectfully requests that the Court

deem the facts admitted and grant summary judgment under Rule 56.


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Filed under duress and without waiver,​

/s/ Colton John Harris ​

​

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DATED: 06-2-2025
